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 1   BRUCE LOCKE
 2   Moss & Locke
 3   800 Howe Avenue, Ste 110
 4   Sacramento, California 95825
 5   (916) 719-3194
 6   blocke@mosslocke.com
 7

 8                                   UNITED STATES DISTRICT COURT
 9                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                        No. CR. S-09-436 MCE

12                      Plaintiff,                    STIPULATION AND PROPOSED ORDER
                                                      TO ALLOW MR. KHAN TO TRAVEL TO
13           v.                                       PAKISTAN

14   MOHAMMAD NASIR KHAN , et. al.,
15                      Defendants.
16

17           IT IS HEREBY STIPULATED AND AGREED between the defendant, Mohammad

18   Nasir Khan, by and through his defense counsel, Bruce Locke, and the United States of America

19   by and through its counsel, Assistant U.S. Attorney John Vincent, that the defendant should be

20   allowed to travel to Pakistan at or around September 15, 2011 and to return to the United States at

21   or about January 15, 2015. The reason for the trip is to attend the marriage of his son.

22           Mr. Khan has served his four months confinement and has been on supervised release for

23   approximately one year. He has paid all of the restitution ordered by the Court. The extended

24   length of the trip is necessary because this is an arranged marriage and requires more time than

25   just attending a ceremony.

26           Mr. Khan’s supervising Probation Officer does not object to allowing Mr. Khan to make

27   this trip. Mr. Vincent has authorized Mr. Locke to sign this Stipulation for him and to file the

28   same.
                                                      1
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 1

 2   DATED: August 13, 2014                        /S/ Bruce Locke
                                                   BRUCE LOCKE
 3                                                 Attorney for Mohammad Nasir Khan
 4

 5

 6

 7   DATED: August 13, 2014                         /S/ Bruce Locke
                                                   For JOHN VINCENT
 8                                                 Attorney for the United States
 9

10

11          IT IS HERBY ORDERED that Mohammad Nasir Khan is authorized to travel to Pakistan
12   between September 15, 2014 and January 15, 2015 to attend the wedding of his son. Mr. Khan is
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     ordered to check in with his probation officer within 2 days of his return to the United States.
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     DATED: August 13, 2014.
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